           Case 22-10695-pmm                          Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                          Desc Main
                                                                     Document     Page 1 of 10
 Fill in this information to identify the case:

 Debtor name         Little Washington Fabricators, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)          22-10695
                                                                                                                                                      Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $376.52
           Andrews Auto LLC                                                   Contingent
           5402 Lincoln Highway                                               Unliquidated
           Gap, PA 17527                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $2,340.67
           ARC Document Solutions, LLC                                        Contingent
           1005 Convention Plaza                                              Unliquidated
           Saint Louis, MO 63101                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $16,807.50
           ARC' N J Welding, LLC                                              Contingent
           241 Ash Road                                                       Unliquidated
           Coatesville, PA 19320                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $424.56
           Aus North Lockbox                                                  Contingent
           PO Box 28050                                                       Unliquidated
           New York, NY 10087                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 10
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          Case 22-10695-pmm                           Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document     Page 2 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,026.26
          AW Welding & Fabricating LLC                                        Contingent
          1614 Rawlinsville Road                                              Unliquidated
          Holtwood, PA 17532                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,124.06
          Bauer Fastener                                                      Contingent
          PO Box 180                                                          Unliquidated
          Lancaster, PA 17608                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,603.47
          BB Transport, LLC                                                   Contingent
          43 Walkers Lane                                                     Unliquidated
          Kinzers, PA 17535                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Berks Ridge Company Enterprises, Inc.                               Contingent
          Attn: Mr. James Davis, VP of Operations
          316 Ruth Road
                                                                              Unliquidated
          Harleysville, PA 19438                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Luxor Lansdale
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,254.53
          BSM, Inc.                                                           Contingent
          841A Kutztown Road                                                  Unliquidated
          Myerstown, PA 17067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Builders, Inc.                                                      Contingent
          Attn: Kevin Cliver, PM
          4 Raymond Drive
                                                                              Unliquidated
          Havertown, PA 19083                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:    CVS Cherry Hill
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,480.00
          C&K Welding, LLC                                                    Contingent
          4015 Bahn Ave                                                       Unliquidated
          York, PA 17408                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 10
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          Case 22-10695-pmm                           Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document     Page 3 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CCS Building Group, LLC                                             Contingent
          Attn: Mr. Justin Nolt, Sr. PM
          598 Millwood Road
                                                                              Unliquidated
          Willow Street, PA 17584                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    South Pointe
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $121,832.94
          Certified Steel Co., Inc.                                           Contingent
          1333 Brunswick Pike, Suite 200                                      Unliquidated
          Lawrence Township, NJ 08648                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $180,221.50
          Chester County Construction, LLC                                    Contingent
          165 Reeder Road                                                     Unliquidated
          Honey Brook, PA 19344                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,980.80
          CK Replacement Stalls                                               Contingent
          330 Millwood Road                                                   Unliquidated
          Lancaster, PA 17603                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,899.01
          Control Associates & MFG, LLC                                       Contingent
          1452 Woodlot Road                                                   Unliquidated
          Manheim, PA 17545                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,420.00
          Cooke's Construction LLC                                            Contingent
          c/o Anthony Cooke                                                   Unliquidated
          18 Spruce Street                                                    Disputed
          Ephrata, PA 17522
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $962.48
          CP Equipment, LLC                                                   Contingent
          5925 Buena Vista Road                                               Unliquidated
          Gap, PA 17527                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 10
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          Case 22-10695-pmm                           Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document     Page 4 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,013.35
          Curtis Welding & Fabricating, Inc.                                  Contingent
          50 Wright Avenue                                                    Unliquidated
          Lititz, PA 17543                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $423,849.00
          Douglas L. Howe                                                     Contingent
          52 Mill Street                                                      Unliquidated
          Christiana, PA 17509                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,792.85
          DRM Associates, Inc.                                                Contingent
          4334 Hanover Pike                                                   Unliquidated
          Manchester, MD 21102                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $173,741.82
          DS Pipe & Steel Supply, LLC                                         Contingent
          1301 Wicomico Street                                                Unliquidated
          PO Box 6367                                                         Disputed
          Baltimore, MD 21230-6367
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,782.50
          Eagle Engineering                                                   Contingent
          154 Calvary Church Road                                             Unliquidated
          Wrightsville, PA 17368                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commodore
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,930.00
          Eagle Erectors, Inc.                                                Contingent
          3500 Wrangle Hill Road                                              Unliquidated
          Bear, DE 19701                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,725.14
          East Coast Steel Fab, LLC                                           Contingent
          PO Box 2193                                                         Unliquidated
          Reading, PA 19608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 10
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          Case 22-10695-pmm                           Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document     Page 5 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,936.50
          Esch Hay Equipment                                                  Contingent
          3230 E. Gordon Road                                                 Unliquidated
          Gordonville, PA 17529                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,541,220.42
          Eshbro Construction, LLC                                            Contingent
          3734 East Newport Road                                              Unliquidated
          Gordonville, PA 17529                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,800.00
          Green Tree Machine Works, LLC                                       Contingent
          1450 Valley Road                                                    Unliquidated
          Quarryville, PA 17566                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $193,922.38
          Greiner Industries, Inc.                                            Contingent
          1650 Steel Way                                                      Unliquidated
          Mount Joy, PA 17552                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,831.43
          Haydon Bolts, Inc.                                                  Contingent
          1181 Unity Street                                                   Unliquidated
          Philadelphia, PA 19124-3104                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          High Construction Company                                           Contingent
          Attn: Mr. Greg Spaulding, PE
          1853 William Penn Way
                                                                              Unliquidated
          Lancaster, PA 17601                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Ellis Preserve
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,175.00
          Horst Road Repair, LLC                                              Contingent
          Gideon A. Fisher, Jr.                                               Unliquidated
          135 Horst Road                                                      Disputed
          Myerstown, PA 17067-3061
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 10
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          Case 22-10695-pmm                           Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document     Page 6 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Irwin & Leighton, Inc.                                              Contingent
          Attn: Mr. Dan Sabatino, Sr. PM
          1014 West 9th Avenue
                                                                              Unliquidated
          King of Prussia, PA 19406                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Amazon Jessup
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,052.75
          Kirkwood Equipment & Manufacturing, Inc.                            Contingent
          834 Pumping Station Road                                            Unliquidated
          Kirkwood, PA 17536                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          L.R. Costanzo Company, Inc.                                         Contingent
          6801 Tilghman Street                                                Unliquidated
          Allentown, PA 18106                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,650.00
          Line Mountain Fab, LLC                                              Contingent
          680 Hebe Bypass Road                                                Unliquidated
          Herndon, PA 17830                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,412.50
          MBP Dispute Resolution                                              Contingent
          Four Radnor Corporate Center                                        Unliquidated
          100 Matsonford Road, Suite 110                                      Disputed
          Wayne, PA 19087
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,740.99
          McNees Wallace & Nurick                                             Contingent
          PO Box 1166                                                         Unliquidated
          Harrisburg, PA 17108-1166                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,010.79
          McNichols Co                                                        Contingent
          PO Box 101211                                                       Unliquidated
          Atlanta, GA 30392-1211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 10
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
          Case 22-10695-pmm                           Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document     Page 7 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $246,594.66
          Metals USA                                                          Contingent
          PO Box 827110                                                       Unliquidated
          Philadelphia, PA 19182-7110                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael W. Winfield, Esquire                                        Contingent
          Post & Schell, PC
          17 North Second St., 12th Fl
                                                                              Unliquidated
          Harrisburg, PA 17101                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Blue Spring Egg Farm "Freebird"
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,951.15
          Nate's Automotive                                                   Contingent
          239 Maple Avenue                                                    Unliquidated
          Bird in Hand, PA 17505                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $117,044.14
          New Millennium Building Systems                                     Contingent
          PO Box 532097                                                       Unliquidated
          Atlanta, GA 30353-2097                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,158.07
          Pelet-Welding, Inc.                                                 Contingent
          19 North 12th Ave                                                   Unliquidated
          Coatesville, PA 19320                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,970.20
          PeopleReady, Inc.                                                   Contingent
          PO Box 641034                                                       Unliquidated
          Pittsburgh, PA 15264-1034                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,000.00
          Pine Lane Repair                                                    Contingent
          c/o Jacob Swarey                                                    Unliquidated
          1246 S. College Street                                              Disputed
          Myerstown, PA 17067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 10
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
          Case 22-10695-pmm                           Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document     Page 8 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quandel Construction Group, Inc.                                    Contingent
          Attn: Brandon Motuk, Sr. PM
          2601 Market Place, Suite 200
                                                                              Unliquidated
          Harrisburg, PA 17110                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    G&T Industries
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quandel Construction Group, Inc.                                    Contingent
          Attn: Brandon Motuk, Sr. PM
          2601 Market Place, Suite 200
                                                                              Unliquidated
          Harrisburg, PA 17110                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Porsche Easton Warehouse
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,570.25
          R&B Wagner                                                          Contingent
          PO Box 423                                                          Unliquidated
          Butler, WI 53007                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,384.52
          Rhoads Energy Corp                                                  Contingent
          PO Box 1198                                                         Unliquidated
          Lancaster, PA 17608                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,500.00
          Rydberg Engineering Pvt. Ltd
          Mrinal Smriti Apartment                                             Contingent
          Block A Ground Floor Kalyannagar Near                               Unliquidated
          Kalayannagar Vidyapith, Khardah Kolkata                             Disputed
          700112
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,733.57
          Sam's Mechanical Service, LLC                                       Contingent
          5736 Lincoln Highway                                                Unliquidated
          Gap, PA 17527                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,042.50
          Scott A. Rouhier                                                    Contingent
          2109 Lyndell Drive                                                  Unliquidated
          Lancaster, PA 17601                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 10
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          Case 22-10695-pmm                           Doc 93          Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document     Page 9 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $193,800.00
          SEK Construction, LLC                                               Contingent
          1361 Briertown Road                                                 Unliquidated
          East Earl, PA 17519                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,695.77
          Spark Fabricators, LLC                                              Contingent
          6381 White Oak road                                                 Unliquidated
          Christiana, PA 17509                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stewart & Tate                                                      Contingent
          Attn: Mr. John Kerchner, VP
          950 Smile Way
                                                                              Unliquidated
          York, PA 17404                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Blue Spring Egg Farm "Freebird"
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,450.00
          Stoltzfus Welding & Rentals, LLC                                    Contingent
          5195 Martin Drive                                                   Unliquidated
          Gap, PA 17527                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $227.90
          Stoltzfus Welding & Rentals, LLC                                    Contingent
          5195 Martin Drive                                                   Unliquidated
          Gap, PA 17527                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,890.00
          Sweeping Hollow Carpentry, LLC                                      Contingent
          529 Bellas Hollow Road                                              Unliquidated
          Danville, PA 17821                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,057.70
          The Blue Book                                                       Contingent
          PO Box 500                                                          Unliquidated
          Jefferson Valley, NY 10535                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 10
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           Case 22-10695-pmm                          Doc 93           Filed 05/03/22 Entered 05/03/22 12:31:24                                     Desc Main
                                                                     Document      Page 10 of 10
 Debtor       Little Washington Fabricators, Inc.                                                     Case number (if known)            22-10695
              Name

 3.61      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $27,039.83
           Triad Metals International                                         Contingent
           1 Village Road                                                     Unliquidated
           Horsham, PA 19044-3800                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,901,002.00
           Triple-S Steel/Intsel Steel                                        Contingent
           Intsel Steel East, Inc.                                            Unliquidated
           PO Box 301212                                                      Disputed
           Dallas, TX 75303-1212
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.63      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $18,045.14
           United Rentals                                                     Contingent
           Credit Office #214                                                 Unliquidated
           PO Box 100711                                                      Disputed
           Atlanta, GA 30384-0711
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $33,156.31
           Valmont Industries, Inc.                                           Contingent
           PO Box 101021                                                      Unliquidated
           Atlanta, GA 30392                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,450.00
           Vedaker Enterprises, LLC                                           Contingent
           31 Apple Blossom Drive                                             Unliquidated
           Lancaster, PA 17602                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                    5,905,105.43

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        5,905,105.43




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 10
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